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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

B.T., by and through
her next friend, ROBIN T.,
and A.G., by and through his
next friend, SUSEL S.,

       Plaintiffs,

v.                                                  Case No.: 4:22cv212-MW/MJF

JASON WEIDA, in his
official capacity as Secretary of the
Florida Agency for Health Care
Administration,

       Defendant.

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                         ORDER GRANTING EXTENSION 1

       This Court has considered, without hearing, the parties’ joint motion to extend

the deadline for filing the joint status report. ECF No. 60. The motion is GRANTED.

The parties shall file a joint status report on or before Monday, July 24, 2023.

       SO ORDERED on May 25, 2023.
                               s/Mark E. Walker                   ____
                               Chief United States District Judge




       1
         As the parties noted in their joint status report of February 21, 2023, ECF No. 57, Jason
Weida has succeeded Simone Marstiller as Secretary of the Florida Agency for Florida Health
Care Administration. He is automatically substituted as the defendant in this action pursuant to
Federal Rule of Civil Procedure 25(d).
